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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                    )
                                             )              Criminal No. 16-10343-ADB
                 v.                          )
                                             )
(1) MICHAEL L. BABICH                        )
(2) ALEC BURLAKOFF                           )
(3) MICHAEL J. GURRY                         )
(4) RICHARD M. SIMON                         )
(5) SUNRISE LEE                              )
(6) JOSEPH A. ROWAN                          )
                                             )
           Defendants.                       )
                                             )

                           [PROPOSED] PROTECTIVE ORDER

       Upon consideration of the Government’s Motion for a Protective Order in connection

with documents and information disclosed to the Defendants in this case, it is hereby:

       ORDERED that for purposes of this Order, the term “Confidential Discovery Materials”

means documents containing: (1) individually identifiable health information as defined in 45

C.F.R. § 160.103; (2) financial information concerning any of the defendants; (3) financial

information concerning any other individuals in any way involved in this case; or (4) personal

private information protected under Rule 5.2 of the Federal Rules of Civil Procedure. 1

       ORDERED that the producing party shall designate which document productions

contain Confidential Discovery Materials in accordance with the definition above.




       1
         While Rule 49.1 of the Federal Rules of Criminal Procedure, rather than Rule 5.2 of the
Federal Rules of Civil Procedure, governs the redaction of personal private information in
criminal proceedings, the Court finds that the narrower categories in the civil rule are more
appropriate in the context of a protective order.
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       ORDERED that in the event counsel of record contend that any document or information

produced pursuant to this Order should not be covered thereunder, counsel shall notify the

producing party in writing of the document or information and state the reasons why the

document or information should not be covered by the Order. If the parties are unable to reach

agreement, counsel of record may file a motion for relief from this Order as to the document or

information at issue.

       ORDERED that all defense counsel of record shall keep the Confidential Discovery

Materials strictly confidential and shall not disclose information contained therein to any person

other than to the patient himself or herself (in the case of individually identifiable health

information);, to the Defendants, defense counsel of record, and agents of defense counsel, that

is, those employed by defense counsel and any other persons retained and/or consulted by

defense counsel for the purpose of assisting in the legal defense of this case;, to medical

personnel who were involved in the patient’s care and who may be witnesses and their attorneys;

and to potential witnesses.

       ORDERED that such information shall be used only for purposes of this litigation

including as necessary during discovery, motion practice and preparation for trial, and unless a

court orders otherwise for good cause shown;

       FURTHER ORDERED that as to all persons who are provided access to information in

the Confidential Discovery Materials, as authorized by this Order, in connection with the

preparation and defense of this matter, all defense counsel of record shall advise each of these

persons of the privacy and confidentiality of such information and his or her obligation not to

disclose the information, and require such person to sign a copy of this Order to affirm his or her

understanding of such person’s obligation not to disclose the information before such
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information is disclosed, except that a signed copy of this Order will be deemed to apply to any

support or administrative staff working under the direction and supervision of the signer, and no

signed Order need be obtained from a treating health care professional (as to their own current

and former patients) and/or patients (about their own treatment);

       FURTHER ORDERED that counsel of record shall maintain all copies of this Order

that have been signed under the preceding provision until the conclusion of this litigation,

including all appeals;

       FURTHER ORDERED that no person, including a defendant, who receives

Confidential Discovery Materials from the defense counsel of record is permitted to further

disseminate or further disclose any such materials, or information in them, for any purpose;

       FURTHER ORDERED that this Order shall not be construed to limit or otherwise

require the parties to seek leave of Court prior to filing with the Court any information protected

by this Order, subject to the Court’s local rules regarding the redaction of personal identifying

information; and,

       FURTHER ORDERED that at the conclusion of this litigation, including all appeals, all

Confidential Discovery Materials shall be returned to the United States Attorney’s Office, or

destroyed at the direction of the United States Attorney’s Office.

                                              SO ORDERED, this __ day of             , 2017.

                                              ________________________________________
                                              THE HONORABLE JENNIFER C. BOAL
                                              CHIEF UNITED STATES MAGISTRATE JUDGE
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                   AGREEMENT TO BE BOUND BY PROTECTIVE ORDER

        I hereby acknowledge that I have read the protective order entered in United States v.

Babich, et al., Criminal No. 16-10343-ADB, and/or have had the terms of the protective order

explained to me. I agree that the order applies to me and that I am bound by, and will comply

with, its terms.



                                             NAME


                                             DATE
